fs 9: Case 01-01139-AMC Dot 4019-9 . Filed 07/08/03 Page 1 of 2.

. Be - “3621199
[Sovran ge > 2 NUMBERS ~ligsoe .
. . -. ° GROUP: - ZONOLITE, ORR
Propucrs . SEP a4 9% “og DATE: | “September 23, 1976
Divisi ON : ROUETRUCTION. PRODUCTS ovvisict oo ‘CHARCE NO.: 71- O70.

ob REQUESTOR: J. Young/Libby

: MARKETING or MANUPACTURING APPROVAT,

|. ° REQUEST FOR TECHNICAL SERVICE” - >. MAME:
— -_~ APPROVED:
PROBLEM TITLE: ©  TREMOLITE DETERMINATION OF LIBBY FLOTATION SAMPLES

| SIGNIFICANCE:

SPECIFIC OBJECTIVE:

' To determine tremolite content at various stages of operation for *.
effective tremolite removal.

SUGGESTED AEPROACH:
ao /: Xeray Method |

DEADLINE (Last day information will be of value):

| DEPAILS OF PROBLEM:

ACCEPTED BY RESEARCH DEPT. : [ee C.&, DATE: © 742/5¢
ASSIGNED TO: J. C. Yang XY
- ADDITIONAL COPIES: Original to Library > H.-A. Brown, .C. Duecker, R. H.Locke, J.W.Wolter ;-

R.Oliverio-G.G.Vaplon-J.Young/Libby, CPD-T&A
File: 71-070

CONFIDENTIAL 15103359

PAGE 20 .
+yUMBER: TRA 149502
-. GROUP: ZONOLITE, ORE |
ACTUAL COST: $230.00 |
. REPORTING DATE: . September 23, 1976

fo Case 01-01139-AMC _ Doc 4019-9 Filed 07/08/03 Page 2 of 20

REQUEST FOR TECHNICAL SERVICE

EXEERIVENTAL a ote :
‘Sample Description: mo, oo, oo Te “03631340.

Five samples + were submitted by J. Young of Libby operation for Kray
diffraction analysis. .

The samples are: ot,
- (1) Wet Mill.Head Feed a , July 15

(2). Wet Mill Head Feed oo Suly 16-0
(3). Wet Mill Head Feed os dilly 22

(4) 90% Phickener Underflow - .
(5) ‘Tails from the Electrostatic > Separator | Se

X-Ray pittraction inslysie:
Be Large speciinéns received from Libby: (No. 1, 2. and 3). arowid 5. ibs. :
moo .- each, were quarvered many tines . and samples to assure good representative
os sampling. : -

About, 20 grams of . the ‘material 1 were pulverizea ‘to 100 mesh size and
subjected | to x-ray diffraction analysis. oy

Pereentage of f tremolite was determined from the peak intensity readings os

me,

( 20- = 10, FOP = 8, 388) on ‘the standard calibration curve...
| REsubes a on

- ‘Sample. Descripsion: oo  % Tremoiite . .
1. .Wet Mill Head Feed. » . 7/15 > | 328.5.
2. Wet Mill Head Feed. AFIS BG

. 3. Wet Mill Head Feed 22-5
AL. got pF Thickener Underflow BA.

5. Tails for Blectrostatic Separator ~ 6 FS:

“The accuracy. of these samples is about + + 0.5%, “and samples were un in -
triplicate. . wo. oo oe
dulie C. Yang. .

; SCY:mir -

15103360
